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               March 27, 2018                                                                                                     david.goldberg@kattenlaw.com
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               By ECF

               Honorable Jesse M. Furman
               United States District Judge
               United States District Court
               Southern District of New York
               40 Centre Street, Room 2202
               New York, NY 10007

               Re:         Robert Zimmerman v. UBS AG, et al., 17-CV-4503 (JMF)

               Dear Judge Furman:

               This firm is counsel to certain UBS-related entities and individuals (collectively, “UBS”) named
               as defendants in the above-captioned case. We write to request a one-week extension — from
               April 2, 2018 to April 9, 2018 — in UBS’s time to reply to the brief of plaintiff Robert
               Zimmerman (“Plaintiff”) in opposition to UBS’s motion to dismiss the complaint. This is UBS’s
               first request for such an extension.

               Pursuant to this Court’s order of February 12, 2018 (Docket Entry No. 81), Plaintiff’s opposition
               to UBS’ motion to dismiss was to be filed and served no later than March 26, 2018 – a deadline
               that had previously been extended from March 5, 2018. (Docket Entry No. 79.) Plaintiff’s
               opposition, however, was not received (via posting on the Court’s electronic case filing docket)
               until March 27, 2018. (Docket Entry No. 83.) Moreover, per this Court’s permission, Plaintiff’s
               opposition brief runs 40 pages – longer than the standard 25 pages allotted for opposition papers
               in this District. Given both the length and lateness of Plaintiff’s opposition, as well as the
               upcoming religious holidays, UBS believes that a one-week extension of its reply deadline is
               reasonable and that such an extension will permit UBS to respond fully and effectively to
               Plaintiff’s opposition brief.

               On March 27, 2017, the undersigned wrote by email to plaintiff Robert Zimmerman to request
               his consent to an adjournment. Plaintiff declined to consent




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In light of the foregoing, UBS respectfully requests that its deadline to file reply papers be
extended from April 2, 2018 to April 9, 2018.


                                                         Respectfully submitted,

                                                         /s/ David L. Goldberg
                                                         David L. Goldberg

cc:      Robert Zimmerman (by email and U.S. mail)
         All Counsel of Record (by ECF)
